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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION


      AIMEE MARIE BENTSON,                                   §
                                                             §
                     Plaintiff,                              §     CIVIL ACTION NO. 4:15-CV-00523-ALM-
                                                             §                    CAN
      v.                                                     §
                                                             §
      DAVID E. CHYMA, INDIVIDUALLY,                          §
                                                             §
                     Defendants.

                                     REPORT AND RECOMMENDATION
                                  OF UNITED STATES MAGISTRATE JUDGE

           Pending before the Court is Plaintiff Aimee Marie Bentson’s (“Plaintiff”) Motion for

  Motion for Summary Judgment [Dkt. 40] seeking summary judgment as to Defendant David E.

  Chyma’s (“Defendant”) liability under the Federal Debt Collection Practices Act (“FDPCA”) and

  Texas Debt Collection Act (“TDCA”). After reviewing the Motion for Summary [Dkt. 40] and all

  other relevant pleadings and evidence, the Court recommends that Plaintiff’s Motion for Summary

  Judgment [Dkt. 40] be GRANTED IN PART AND DENIED IN PART.

                                  RELEVANT PROCEDURAL HISTORY

           On July 31, 2015, Plaintiff filed the present suit, alleging Defendant and others1 violated

  the FDCPA and the TDCA in attempting to collect a debt incurred as a result of a divorce

  proceeding [Dkt. 1]. Plaintiff asserts Defendant sent her confusing letters in violation of the

  FDCPA and TDCA and that Defendant consistently contacted her in a harassing, threatening, and

  demeaning manner [Dkt. 1].




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   Plaintiff filed a voluntary dismissal of Aitken Law Firm, P.C. and Aitken, Aitken & Sharpe, P.C. on October 14, 2015
  (Dkt. #8). The Court accordingly dismissed those defendants on October 20, 2015 (Dkt. #11). As such, Defendant
  David E. Chyma is the sole defendant in this case.


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          On August 31, 2015, Defendant filed a Motion to Dismiss asserting in whole that

  “Defendant finds [Plaintiff’s] Complaint . . . essentially inaccurate, over-reaching and frivolous.

  As such, Defendant hereby requests this case be dismissed” [Dkt. 6].                          The undersigned

  recommended denying Defendant’s conclusory Motion to Dismiss on November 25, 2015

  [Dkt. 13].2 Defendant thereafter filed a Notice of Pleading and Statement on January 7, 2016;

  Defendant alleges this Notice of Pleading and Statement documents the entirety of his interactions

  with Plaintiff [see Dkt. 19]. The Notice of Pleading and Statement includes a letter dated

  January 29, 2015, which has enclosed the Attorney-Client Fee Agreement (between Plaintiff and

  Aitken Law Firm, P.C.), an invoice numbered 3144 with a $10,940.58 “balance due” tabulating

  various charges against Plaintiff by Aitken, Aitken & Sharpe, P.C., and a “Statement” dated

  November 1, 2014, indicating a $15,050.05 “amount due[,]” which encompasses or includes the

  balance on the invoice numbered 3144 [Dkt. 19, Ex. A]. The District Court construed Defendant’s

  Notice of Pleading and Statement [Dkt. 19] as an objection to the undersigned’s report and

  recommendation and, after considering the construed objection, adopted the undersigned’s report

  and recommendation as the findings and conclusions of the Court on Defendant’s Motion to

  Dismiss [Dkt. 21].

          Subsequently, on March 21, 2016, Plaintiff filed a Motion for Judgment on the Pleadings,

  seeking judgment as a matter of law against Defendant on each of her claims, as well as damages

  [Dkt. 20]. Defendant filed no response, and on August 18, 2016, the undersigned entered a

  recommendation that Plaintiff’s Motion for Judgment on the Pleadings be granted [Dkt. 24]. On

  September 7, 2016, Defendant timely filed objections to the undersigned’s report and



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    Thereafter, Defendant failed to appear at the management conference or to make his initial disclosures, and again
  failed to do so after the undersigned ordered as much by way of Show Cause Order, despite that Defendant
  acknowledged receipt of the order [Dkts. 16-17].


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  recommendation [Dkt. 26]. After reviewing Defendant’s objections, the undersigned converted

  Plaintiff’s Motion for Judgment on the Pleadings into a motion for summary judgment and

  provided additional time for the Parties to supplement their briefing and to provide evidence

  [Dkt. 29]. Plaintiff timely filed her Motion for Summary Judgment on November 28, 2016

  [Dkt. 32], relying almost wholly on her unverified complaint to carry her summary judgment

  burden. Defendant failed to respond and filed no additional evidence. Largely as a result of the

  total lack of competent summary judgment evidence, the undersigned entered an amended report

  and recommendation on February 24, 2017, recommending that Plaintiff’s Motion for Summary

  Judgment [Dkt. 32] be denied (and that Plaintiff’s related Motion to Strike [Dkt. 28] be denied as

  moot). Plaintiff objected [Dkt. 30], but the District Court adopted the undersigned’s ultimate

  conclusion that the Motion for Summary Judgment [Dkt. 32] should be denied on the record then

  before the Court [Dkt. 37].

         Thereafter, on March 30, 2017, the Court entered the Amended Scheduling Order,

  reinvigorating the dispositive motion deadline and providing the Parties until May 5, 2017, to file

  any additional dispositive motions in this matter. Plaintiff filed the pending Motion for Summary

  Judgment [Dkt. 40] on May 5, 2017, renewing her request for judgment as a matter of law on the

  same claims for which she earlier sought and was denied summary judgment, as well as attorneys

  fees, damages, and injunctive relief [Dkt. 40 at 9]. Critically, Plaintiff provides additional

  evidence with the pending Motion for Summary Judgment [Dkt. 40] that the Court did not have

  before it when ruling on Plaintiff’s earlier Motion for Summary Judgment [Dkt. 32], namely the

  affidavit of Plaintiff Aimee Marie Bentson [Dkt. 40, Ex. B] (“Bentson Affidavit”) and the affidavit

  of Plaintiff’s counsel Steven M. Strong [Dkt. 40, Ex. C] (“Strong Affidavit”). Defendant filed his

  Response on May 22, 2017, arguing the Court’s March 29, 2017 Memorandum [Dkt. 37]




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  “correctly concluded all the allegations filed in this case [by Plaintiff] to be meritoriously

  deficient” and that Plaintiff “continues to pursue Summary Judgement [sic] even though there is

  no basis for such” [Dkt. 44]. Defendant proffers no evidence or additional argument in support of

  his position that “this case should be dismissed” [Dkt. 44]. The Motion for Summary Judgment

  [Dkt. 40] alongside the newly filed evidence is ripe for the court’s consideration. See Petroleum

  Helicopters, Inc. v. Avco Corp., 930 F.2d 389 (5th Cir. 1991) (affirming district court’s granting

  of a party’s second request for summary judgment where district court previously denied summary

  judgment on the same claims but party renewed request for summary judgment following

  introduction of evidence not previously before the court).

                                         LEGAL STANDARD

  I.      Summary Judgment Motion

          The purpose of summary judgment is to isolate and dispose of factually unsupported claims

  or defenses. See Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986). Summary judgment is proper

  if the pleadings, the discovery and disclosure materials on file, and any affidavits “[show] that

  there is no genuine issue as to any material fact and that the movant is entitled to judgment as a

  matter of law.” FED. R. CIV. P. 56(a). A dispute about a material fact is genuine “if the evidence

  is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 248 (1986). The trial court must resolve all reasonable doubts in favor

  of the party opposing the motion for summary judgment. Casey Enters., Inc. v. Am. Hardware

  Mut. Ins. Co., 655 F.2d 598, 602 (5th Cir. 1981) (citations omitted). The substantive law identifies

  which facts are material. Anderson, 477 U.S. at 248.

          The party moving for summary judgment has the burden to show that there is no genuine

  issue of material fact and that it is entitled to judgment as a matter of law. Id. at 247. If the movant




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  bears the burden of proof on a claim or defense on which it is moving for summary judgment, it

  must come forward with evidence that establishes “beyond peradventure all of the essential

  elements of the claim or defense.” Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986).

  But if the nonmovant bears the burden of proof, the movant may discharge its burden by showing

  that there is an absence of evidence to support the nonmovant’s case. Celotex, 477 U.S. at 325;

  Byers v. Dallas Morning News, Inc., 209 F.3d 419, 424 (5th Cir. 2000). Once the movant has

  carried its burden, the nonmovant must “respond to the motion for summary judgment by setting

  forth particular facts indicating there is a genuine issue for trial.” Byers, 209 F.3d at 424 (citing

  Anderson, 477 U.S. at 248-49). The nonmovant must adduce affirmative evidence. Anderson,

  477 U.S. at 257. In so doing, the nonmovant “cannot rely on the facts in its unverified complaint,”

  it must instead “point to evidence in the record sufficient to establish the alleged facts[.]” Solo

  Serve Corp. v. Westowne Assocs., 929 F.2d 160, 165 (5th Cir. 1991). Furthermore, “Rule 56 does

  not impose upon the district court a duty to sift through the record in search of evidence to support

  a party’s opposition to summary judgment.” Forsyth v. Barr, 19 F.3d 1527, 1537 (5th Cir. 1994)

  (quotations omitted). Nevertheless, the Court “may consider other materials in the record[,]” FED.

  R. CIV. P. 56(c)(3), and doing so is particularly appropriate where the opposing party proceeds

  pro se. Perez v. United States, 312 F.3d 191, 194-95 (5th Cir. 2002) (citing Haines v. Kerner, 404

  U.S. 519 (1972)).

  II.     Summary Judgment Evidence

          Federal Rule of Civil Procedure 56 provides that “[a] party asserting that a fact cannot be

  . . . genuinely disputed must support the assertion” through “particular parts of materials in the

  record” or by “showing that the materials . . . do not establish the . . . presence of a genuine dispute,

  or that the adverse party cannot produce admissible evidence to support the fact.” FED. R. CIV. P.




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  56(c). Briefing does not suffice as factual support: instead, “the court must consider the issues

  presented by other material offered by the parties . . . to determine whether the Rule 56 request

  should be granted.” Marsh v. Austin-Fort Worth Coca-Cola Bottling Co., 744 F.2d 1077, 1079

  n.4 (5th Cir. 1984) (per curiam); see also Godeaux v. Dynamic Indus., Inc., 864 F. Supp. 614, 619

  n.10 (E.D. Tex. 1994) (“The court should not . . . rely upon factual assertions made in the briefs

  because ‘documents of this character are self-serving and are not probative evidence of the

  existence or nonexistence of any factual issues.’”). The Fifth Circuit has made clear the movant

  bears the burden of showing through evidence its entitlement to judgment as a matter of law:

         In the usual case, the party who seeks a summary judgment must show by affidavit
         or other evidentiary materials that there is no genuine dispute as to any fact material
         to resolution of the motion. He must establish thereby the existence or nonexistence
         of enough of the essential elements of a claim and its related defenses to permit
         disposition of the claim as a matter of law. Thus, if the movant bears the burden of
         proof on an issue, either because he is the plaintiff or as a defendant he is asserting
         an affirmative defense, he must establish beyond peradventure all of the essential
         elements of the claim or defense to warrant judgment in his favor.

  Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986). As a result, a court should deny

  summary judgment where the party seeking such result fails to show either that no genuine issue

  of material fact exists as to the claims subject of the motion or that the nonmovant cannot show a

  genuine issue of material fact exists. See, e.g., Allergan Sales, LLC v. Sandoz, Inc., 211 F. Supp. 3d

  907, 914 (E.D. Tex. 2016) (“The moving party has the burden to identify the basis for granting

  summary judgment and to supply evidence demonstrating the absence of a genuine dispute of

  material fact.”); Guajardo v. GC Servs., LP, No. CIV. A. H-08-119, 2009 WL 3715603, at *2

  (S.D. Tex. Nov. 3, 2009) (“A plaintiff moving for summary judgment must satisfy its burden by

  submitting proof that establishes all elements of its cause of action as a matter of law.”); see also

  Cuba v. Pylant, 814 F.3d 701, 720 (5th Cir. 2016) (“Rule 56 permits summary judgment ‘if the

  movant shows that there is no genuine dispute as to any material fact and the movant is entitled to



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  judgment as a matter of law.’”); Zhang v. Monroe, No. 6:13-CV-811, 2017 WL 108311, at *2

  (E.D. Tex. Jan. 11, 2017) (citing Celotex, 477 U.S. at 323, and noting the movant bears the initial

  burden of “identifying those portions of the record [that] demonstrate the absence of genuine issue

  of material fact”); FED. R. CIV. P. 56(c), (e); cf. Howard v. AMH ROMAN TWO TX, LLC, No. 4:15-

  CV-526, 2016 WL 3392417, at *5 (E.D. Tex. May 11, 2016) (determining under Rule 56 that

  certain claims failed as a matter of law because plaintiff “failed to offer any summary judgment

  evidence to demonstrate a genuine issue of material fact regarding them”).

         When determining whether to grant or deny summary judgment within this framework, the

  Federal Rules of Evidence govern a court’s consideration of the record evidence. Harrison v.

  Formosa Plastics Corp. Tex., 776 F. Supp. 2d 433, 441 (S.D. Tex. 2011). Generally, this means

  “[a] court may consider any evidence in the record, ‘including depositions, documents,

  electronically stored information, affidavits or declarations, stipulations . . . , admissions,

  interrogatory answers, or other materials.’” Kirkpatrick v. Dover & Fox, P.C., No. 4:13-cv-0123,

  2013 WL 5723077, at *1 (quoting FED. R. CIV. P. 56(c)(1)(A) in a case presenting FDCPA and

  TDCA claims). Relevant here, Federal Rule of Evidence 201 permits judicial notice of an

  “adjudicative fact” where the fact is not subject to reasonable dispute; however, a court generally

  may not take notice of pleadings for the truth of the matter asserted therein. See, e.g., SB Int’l, Inc.

  v. Jindal, No. 3:06–CV–1174–G, 2007 WL 1411042, at *1 (N.D. Tex. May 14, 2007) (citing

  Taylor v. Charter Med. Corp., 162 F.3d 827, 829 (5th Cir. 1998)); In re B.R., 456 S.W.3d 612,

  617 n.4 (Tex. App.—San Antonio 2015, no pet.) (determining allegations could not serve as

  evidence if the matters alleged). Attaching pleadings to the motion for summary judgment as

  “evidence” does not change this result—“[t]he basic mission of the summary judgment procedure

  is to allow the court to pierce the pleadings and assess the proof in order to see whether there is a




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  genuine need for a trial.” Gauck v. Meleski, 346 F.2d 433, 436 (5th Cir. 1965); see Allergan, 211

  F. Supp. 3d at 914 (citing Celotex, 477 U.S. at 323).3

                                SUMMARY OF PLANTINTIFF’S CLAIMS

           Plaintiff alleges Defendant (1) violated FDCPA sections 1692d, 1692e, 1692f, and 1692g

  (2) violated TDCA sections 392.101, 392.301, 392.303, and 392.304; and (3) violated Texas

  Business and Commerce Code section 17.62 vis-à-vis his violation of TDCA section 392.404(a)

  [Dkt. 1 at 10-14]. Plaintiff argues the Court should find Defendant committed each of these

  violations and accordingly is liable [Dkt. 40]. Plaintiff also asserts she should receive “actual and

  statutory damages proximately caused by Defendant[’s] . . . violation[s] of both the FDCPA and

  [TDCA]” as well as reasonable and necessary attorneys fees (and costs) [Dkt. 40 at 6].

                                          SUMMARY OF EVIDENCE

           Plaintiff proffers the following documents in support of her Motion for Summary

  Judgment: (1) Plaintiff’s Complaint [Dkt. 1]; (2) letters from Defendant to Plaintiff dated

  January 29, 2015, March 13, 2015, April 9, 2015, and July 2, 2015, respectively [Dkt. 40, Ex. A];

  (3) a letter from Plaintiff to Defendant dated March 26, 2015 [Dkt. 40, Ex. B-1]; (4) the Bentson

  Affidavit [Dkt. 40, Ex. B]; and (5) the Strong Affidavit [Dkt. 40, Ex. C]. Defendant proffers no

  evidence with his Response and also points to no evidence in the record to support his Response.4

           On the instant Motion, Plaintiff again attempts to rely (in part) on her unverified complaint

  to support her request for judgment as a matter of law. As the authorities cited supra clearly



  3
    Further, as a general matter, a litigant does not “admit” to allegations in a complaint by failing to respond to that
  complaint. Cf. Davenport v. Nissan N. Am., Inc., No. 3:14-CV-00671-CWR-LRA, 2015 WL 6394779, at *3 (S.D.
  Miss. Oct. 22, 2015) (declining to accept litigant’s unsupported assertion that an opposing party’s “failure to respond
  to the allegations in the complaint constitutes an admission of the allegations in the complaint”).
  4
    The Court reiterates that, while the Parties proffered Plaintiff’s Complaint as well as the letters from Defendant to
  Plaintiff and the letter from Plaintiff to Defendant before, the Court has before it for the first time here the Bentson
  Affidavit and the Strong Affidavit. The Court also considers herein Defendant’s Notice of Pleading and Statement
  [Dkt. 19].


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  demonstrate (and as the Court has indicated in several prior orders), Plaintiff may not rely on an

  unverified complaint to show the truth of the facts alleged therein. The Court repeats that an

  unverified complaint does not constitute evidence on which the Court may rely in determining

  whether or not to grant or deny summary judgment. See, e.g., Gauck, 346 F.2d at 436; Allergan,

  211 F. Supp. 3d at 914. And the Court may not take judicial notice of the facts asserted therein as

  the truth of the matter asserted, particularly where such facts conflict or are disputed by the

  opposing party. See, e.g., SB Int’l, Inc., 2007 WL 1411042, at *1; Mabile, 2016 WL 5231839, at

  *17.

                                             ANALYSIS

  I.     FDCPA Claims

         Plaintiff claims (and seeks judgment as a matter of law) that Defendant violated FDCPA

  sections 1692d, 1692e(2)(A), 1692e(10), 1692f, 1692f(2), 1692g, and 1692g(b) [Dkt. 40 at 3-4].

  The FDCPA governs actions by “debt collectors” against “consumers” and is intended “to protect

  consumers from a host of unfair, harassing, and deceptive debt collection practices without

  imposing unnecessary restrictions on ethical debt collectors.” Peter v. GC Servs. L.P., 310 F.3d

  344, 351-52 (5th Cir. 2002) (citation omitted). The FDCPA defines a “consumer” as “any natural

  person obligated or allegedly obligated to pay any debt[,]” a “debt” as “any obligation or alleged

  obligation of a consumer to pay money arising out of a transaction in which the money, property,

  insurance, or services which are the subject of the transaction are primarily for personal, family,

  or household purposes, whether or not such obligation has been reduced to judgment[,]” and “debt

  collector” as (with certain exceptions inapplicable here) “any person who uses any instrumentality

  of interstate commerce or the mails in any business the principal purpose of which is the collection




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  of any debts, or who regularly collects or attempts to collect, directly or indirectly, debts owed or

  due or asserted to be owed or due another.” 15 U.S.C. § 1692a(3), (5), (6) (2012).

         Here, neither Party disputes Defendant’s status as a debt collector, Plaintiff’s status as

  either a “person” or a “consumer,” or the status of the debt as debt the collection of which is subject

  to the FDCPA [see, e.g., Dkt. 40, Ex. B at 3-6 (averring the debt in question relates to allegedly

  delinquent payments due a law firm for divorce services), Ex. A (showing Defendant sent

  interstate letters seeking to collect on this debt)]. See Guajardo, 2009 WL 3715603, at *3 (noting

  that, once plaintiff meets these threshold elements, plaintiff must prove some violation of the

  FDCPA occurred).

         A.      Section 1692d

         FDCPA section 1692d prohibits a debt collector from “engag[ing] in any conduct the

  natural consequence of which is to harass, oppress, or abuse any person in connection with the

  collection of a debt.” Id. § 1692d. Courts in this circuit apply the objective “least sophisticated

  consumer” standard in determining whether a debt collector has harassed, oppressed, or abused a

  consumer so as to violate Section 1692d. Lee v. Credit Mgmt., LP, 846 F. Supp. 2d 716, 722 (S.D.

  Tex. 2012) (citing Taylor v. Perrin, Landry, deLaunay, 569 F.3d 1232, 1236 (5th Cir. 1997)). In

  other words, the “consumer need not prove intentional conduct by the debt collector” in order to

  prevail on a Section 1692d claim, but rather must show the debt collector acted in a manner that

  the least sophisticated consumer would perceive as harassing, oppressive, or abusive. Id. The

  operative inquiry is whether the “natural consequence of [the debt collector’s communication] is

  to abuse the hearer or reader.” 15 U.S.C. § 1692d(2). A debt collector’s “implied threat of

  violence[,]” use of “religious slurs, profanity, obscenity, [or] calling the consumer a liar or a

  deadbeat” along with one’s use of “racial or sexual epithets” may suffice to establish a violation




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  of Section 1692. Statements of General Policy or Interpretation Staff Commentary on the Fair

  Debt Collection Practices Act, 53 Fed. Reg. 50097-02, 50105 (Dec. 13, 1988). On the other hand,

  courts have found debt collectors’ rude language generally will not violate Section 1692d. See,

  e.g., Guajardo, 2009 WL 3715603, at *1 (finding no violation where debt collector called

  consumer a liar and “demanded ‘payment in full within 24 hours or else’” and highlighting that

  the consumer “[did] not allege that [the debt collector] ever used obscene or profane language,

  threatened violence, or misrepresented its true purpose in any communication”); Bassett v. I.C.

  Sys., Inc., 715 F. Supp. 2d 803, 809 (N.D. Ill. 2010) (finding no violation where debt collector

  called consumer “a liar, laughed at him, and accused him of trying to make excuses to get out of

  paying his debt” and collecting cases to same effect).

         In the present case, the record evidence provides insufficient support for judgment as a

  matter of law on Defendant’s liability under Section 1692d. Plaintiff alleges Defendant has

  “repeatedly contacted Plaintiff . . . in writing and via telephone, attempting to collect the Debt

  made subject of [her] claim” and that Plaintiff also has exchanged emails with the creditor who

  has purportedly employed Defendant to collect the debt [Dkt. 1 at 2, 4]. Plaintiff asserts that,

  through this behavior, Defendant violated Section 1692d [Dkt. 1 at 10]. The record evidence,

  which consists in relevant part of the letters from Defendant, the March 26, 2015 letter from

  Plaintiff to Defendant, and the Bentson Affidavit does not suffice to establish such violation.

  Though the Bentson Affidavit shows Plaintiff subjectively felt “horrified” and “scared and

  intimidated” by Defendant’s letters “and the overall event of receiving” them [Dkt. 40, Ex. B at 3-

  10], courts applying the objective “least sophisticated consumer” standard have found similar

  language does not violate the FDCPA. See, e.g., Guajardo, 2009 WL 3715603, at *1; Bassett, 715

  F. Supp. 2d at 809; see also Lee, 846 F. Supp. 2d at 722 (objective standard). Further, nothing in




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  the record beyond the bare Complaint supports Plaintiff’s allegations regarding any email

  communications from Defendant, and the Bentson Affidavit mentions only one phone call “in

  early to mid-2012” from Defendant [compare Dkt. 1, with Dkt. 40, Ex. B]. Defendant’s letters to

  Plaintiff currently before the Court, though certainly rude, do not threaten violence or rise to the

  level of harassment, oppression, or abuse [see Dkt 40, Ex. A at 3 (“I trust the information enclosed

  will refresh your memory. After all, the amount still owed is substantial.”), 4 (“Your continuing

  refusal to exhibit responsible conduct in addressing your defaulted agreement . . . gives me little

  option in the future handling of your account.”)]. See, e.g., Guajardo, 2009 WL 3715603, at *1;

  Bassett, 715 F. Supp. 2d at 809; see also Lee, 846 F. Supp. 2d at 727 n.7 (Section 1692d means to

  capture “other derogatory remarks which are similar in their offensiveness to obscene or profane

  remarks.”) (quoting Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1178 (5th Cir. 1985)).

  Accordingly, the Court concludes the record evidence does not establish Defendant’s liability

  under Section 1692d. Cf. Jeter, 760 F.2d at 1179 (finding the question “whether conduct harasses,

  oppresses, or abuses” generally, but not always, should be reserved for the jury). The Court

  recommends Plaintiff’s Motion for Summary Judgment be denied as to Plaintiff’s Section 1692d

  claims.

            B.     Sections 1692e and 1692f

            FDCPA section 1692e proscribes a debt collector’s “use [of] any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.” 15 U.S.C.

  § 1692e. Specifically, Section 1692e(2)(A) prohibits the “false representation of . . . the character,

  amount, or legal status of any debt” and Section 1692e(10) disallows “use of any false

  representation or deceptive means to collect or attempt to collect any debt or to obtain information

  concerning a consumer.” Id.; see also Daugherty v. Convergent Outsourcing, Inc., 836 F.3d 507,




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  511 (5th Cir. 2016) (noting 1692e provides “a nonexclusive list of prohibited practices”); 53 Fed.

  Reg. 50097-2, 50105-07 (same).           FDCPA section 1692f prohibits “use [of] unfair or

  unconscionable means to collect or attempt to collect any debt” through, for example, “acceptance

  . . . of a check or other payment instrument postdated by more than five days” lacking notification

  “in writing of the debt collector’s intent to deposit such check or instrument not more than ten nor

  less than three business days prior to such deposit.” 15 U.S.C. § 1692f, f(2).

         Under Section 1692e(2)(A), “[a] debt collector may not claim an amount more than

  actually owed, or falsely assert that the debt has matured or that it is immediately due and payable,

  when it is not” or “convey[] to the consumer a false sense of urgency” in collecting payment, inter

  alia. 53 Fed. Reg. 50097-2, 50106. Section 1692e(10) captures this and many other similar types

  of conduct, though “merely re-alleg[ing] a violation of another section of the FDCPA . . . [will]

  not suffic[e] to constitute a violation of § 1692e(10) . . . .” Lee, 846 F. Supp. 2d at 724; see also

  Barlow v. Safety Nat’l Cas. Corp., No. 3:11-CV-00236-BAJ, 2014 WL 1327922, at *5 (M.D. La.

  Mar. 31, 2014), aff’d, 586 F. App’x 191 (5th Cir. 2014) (dismissing Section 1692e(10) claims

  where they merely echoed the claims made under Section 1692(e)(2)(A)). Importantly, though a

  debt collector’s conduct need not be “intentional” in order to violate Section 1692e—“even an

  unintentional misrepresentation of an amount of debt[,]” for example, “can violate §

  1692e(2)(A)[,]” Lee, 846 F. Supp. 2d at 722-23, a debt collector’s violation of Section 1692f

  generally must be knowing, see Ducrest v. Alco Collections, Inc., 931 F. Supp. 459, 462 (M.D. La.

  1996). And the same “unsophisticated or least sophisticated consumer” standard applies in

  “evaluating whether a collection letter violates § 1692e or § 1692f[.] . . .” Daugherty, 836 F.3d at

  511 (noting, however, that “the unsophisticated consumer is not one ‘tied to the “very last rung on

  the [intelligence or] sophistication ladder”’”).




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           Here, the record supports a finding Defendant violated Section 1692e, but does not support

  a finding Defendant violated Section 1692f.5                       The record shows Defendant violates

  Section 1692e(2)(A), which proscribes the false representation of “the character, amount, or legal

  status of any debt[,]” because each of Defendant’s letters references two different amounts—

  $10,940.58 as “Balance on Invoice #3144 – 07/13” and $15,050.50 as “Balance on Statement”—

  and does not identify whether Defendant claims $10,940.58 or $15,050.50 (or both) as the amount

  due. Plaintiff avers that she did not know which of the amounts was allegedly owed, and that

  Defendants letters made clear he was trying to collect such amounts. Cf., e.g., Womble v. Barton,

  No. 4:15 CV 734 JMB, 2015 WL 7889628, at *3 (E.D. Mo. Dec. 4, 2015) (finding that the debt

  collector’s reference to two different amounts owed in representations to the debtor constituted a

  violation of Section 1692e(2)(A)). Furthermore, Defendant’s reference to both amounts without

  any additional explanation “[is] confusingly misleading” such that Defendant’s failure to explain

  in the letters which amount he intended to collect also independently violates Section 1692e(10).

  See, e.g., Pickard v. Lerch, No. 1:03CV1688-LJM-WTL, 2005 WL 1259629, at *5 (S.D. Ind. May

  26, 2005) (finding violation of Section 1692e and noting “even if the . . . letter was not literally

  false in its statement of the amount of the debt, the . . . letter was confusingly misleading”).6

           By contrast, no record evidence demonstrates Defendant knowingly used unfair or

  unconscionable practices aimed at deceiving an unsophisticated consumer into paying the alleged



  5
    The Court found in a prior Report and Recommendation [Dkt. 33], considering the letters from Defendant to Plaintiff
  and the letter from Plaintiff to Defendant (the evidence properly before the Court at the time), that Plaintiff had not
  sufficiently established her claims under Section 1692e as a matter of law. The Court now has before it additional
  evidence, namely the Bentson Affidavit and Strong Affidavit, see supra Summary of Evidence, and in considering
  this evidence reaches a different conclusion.
  6
    Even were the Court to consider other evidence in the record, namely Defendant’s Notice of Pleading and Statement
  [Dkt. 19], the Court would continue to find Plaintiff establishes her Section 1692e claims, as it remains unclear which
  of the amounts Defendant seeks to collect and which he claims constitutes the debt Plaintiff owes [see, e.g., Dkt. 40,
  Ex. B at 7].



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  debt. As a result, Plaintiff does not establish a violation of Section 1692f. Ducrest, 931 F. Supp.

  at 462 (finding that 1692f requires a knowing and/or intentional violation). With regard to

  Plaintiff’s Section 1692f(2) claim, specifically, the record currently before the Court nowhere

  indicates Defendant accepted any check from Plaintiff, much less a post-dated one. 15 U.S.C. §

  1692f(2) (prohibiting “[t]he acceptance by a debt collector from any person of a check or other

  payment instrument postdated by more than five days unless such person is notified in writing of

  the debt collector's intent to deposit such check or instrument not more than ten nor less than three

  business days prior to such deposit”). The Court accordingly recommends Plaintiff’s Motion be

  granted as to Plaintiff’s claims under Section 1692e and denied as to Plaintiff’s claims under 1692f.

         C.      Section 1692g

         FDCPA section 1692g(a) requires a debt collector to disclose certain information to the

  targeted consumer at or within five days of initial contact with the consumer, namely

         (1) the amount of the debt;
         (2) the name of the creditor to whom the debt is owed;
         (3) a statement that unless the consumer, within thirty days after receipt of the
         notice, disputes the validity of the debt, or any portion thereof, the debt will be
         assumed to be valid by the debt collector;
         (4) a statement that if the consumer notifies the debt collector in writing within the
         thirty-day period that the debt, or any portion thereof, is disputed, the debt collector
         will obtain verification of the debt or a copy of a judgment against the consumer
         and a copy of such verification or judgment will be mailed to the consumer by the
         debt collector; and
         (5) a statement that, upon the consumer's written request within the thirty-day
         period, the debt collector will provide the consumer with the name and address of
         the original creditor, if different from the current creditor.

  15 U.S.C. § 1692g(a). In this initial notice the “debt collector may condense and combine the

  required disclosures, as long as he provides all required information.” 53 Fed. Reg. 50097-2,

  50108. But “[m]erely including the required notice in letters to consumers is not sufficient. The

  notice must also ‘be set forth in a form and within a context that does not distort or obfuscate its




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  meaning.’” McMurray v. ProCollect, Inc., 687 F.3d 665, 668 (5th Cir. 2012) (quoting Peter, 310

  F.3d at 348). In other words, the language must not “overshadow” or be “inconsistent with” the

  mandated notice. Id. Courts determine whether a letter complies with the notice requirement

  through the eyes of the “‘unsophisticated or least sophisticated consumer standard.’” Id. at 669

  (quoting Goswami v. Am. Collections Enter., Inc., 377 F.3d 488, 495 (5th Cir. 2004)). The policy

  underlying the notice requirement—providing the consumer a clear picture of what the consumer

  owes and/or an opportunity to contest the debt—is further effected through Section 1692g(b),

  which “requires that, if the consumer disputes the debt or requests identification of the original

  creditor in writing, the collector must cease collection efforts until he verifies the debt and mails a

  response.” 53 Fed. Reg. 50097-02, 50109; see also 15 U.S.C. § 1692g(b). The consumer must

  dispute the debt and/or request the name and address of the original debtor, as the case may be,

  within thirty days and in writing. 15 U.S.C. § 1692g(b). If the consumer contests the debt, the

  debt collector must provide “verification” of the debt before continuing to collect. Mack v.

  Progressive Fin. Servs., Inc., No. 4:13cv544, 2015 WL 123742, at *3-4 (E.D. Tex. Jan. 8, 2015)

  (Mazzant, J.) (noting neither the FDCPA nor the Fifth Circuit has specifically defined “the

  requirements of verification under the FDCPA” and relying on the Sixth Circuit’s standard in

  Haddad v. Alexander, Zelmanski, Danner & Fioritto, PLLC, 758 F.3d 777, 785 (6th Cir. 2014));

  see also Ghanta v. Immediate Credit Recovery, Inc., No. 3:16-CV-00573-O, 2017 WL 1423597,

  at *8 (N.D. Tex. Apr. 18, 2017) (citing Mack and relying on the same standard). The Court

  previously has described the standard for verification as follows:

         These cases suggest that the “baseline” for verification is to enable the consumer to
         “sufficiently dispute the payment obligation.” Although the answer to that question
         depends on the facts of a particular situation, the cases reflect that an itemized
         accounting detailing the transactions in an account that have led to the debt is often
         the best means of accomplishing that objective. Intuitively, such a practice makes
         good sense. In fact, it would likely lead to faster resolutions of disputes with those



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         consumers who act in good faith, because it will either show a valid debt that a
         consumer acting in good faith will actually pay, uncover an error in the record of
         the debt leading to the cancellation of the debt, or reveal the underlying dispute
         between the parties that can then be resolved. Finally, such an approach is
         consonant with the congressional purpose of the verification provision.
         ...
         The verification provision must be interpreted to provide the consumer with notice
         of how and when the debt was originally incurred or other sufficient notice from
         which the consumer could sufficiently dispute the payment obligation. This
         information does not have to be extensive. It should provide the date and nature of
         the transaction that led to the debt, such as a purchase on a particular date, a missed
         rental payment for a specific month, a fee for a particular service provided at a
         specified time, or a fine for a particular offense assessed on a certain date.

  Mack, 2015 WL 123742, at *4 (quoting Haddad, 758 F.3d at 785-86).

         In the present case, Plaintiff avers she first received communication from Defendant

  regarding the alleged debt “[o]n or about March 13, 2015” in the form of a demand letter dated

  March 13, 2015 [Dkt. 40, Ex. B. at 3]. Plaintiff responded to the March 13, 2015 letter on

  March 26, 2015, requesting verification of the debt and disputing its validity [Dkt. 40, Ex. B at 6,

  Ex. B-1]. Defendant responded to Plaintiff’s March 26 letter with a letter dated April 9, 2015,

  enclosing a demand letter from Defendant to Plaintiff dated January 29, 2015, and Plaintiff’s

  “original retainer agreement with Aitken for [her] divorce” [Dkt. 40, Ex. B at 7]. Critically,

  Plaintiff avers she never received the January 29, 2015 letter prior to receiving it with the

  April 9, 2015 letter [Dkt. 40, Ex. B at 7]. No evidence on the record contradicts this averment or

  demonstrates Defendant actually sent the January 29, 2015 letter to Plaintiff prior to April 9, 2015.

  Consequently, the Court finds Plaintiff timely disputed the alleged debt, see 15 U.S.C. § 1692g(b),

  and that Defendant’s March 13, 2015 letter constitutes Defendant’s initial communication with

  Plaintiff regarding the alleged debt. Further, Defendant’s initial communication omits the required




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  validation and dispute notices. See 15 U.S.C. § 1692g(a)(4)-(5).7 Accordingly, the Court finds

  Defendant violated Section 1692g(a).8

           By contrast, Plaintiff does not demonstrate Defendant violated Section 1692g(b) by failing

  to provide a sufficient verification of the debt before continuing in his attempts to collect. The

  Bentson Affidavit states Defendant’s April 9, 2015 letter, which Defendant apparently sent in

  response to Plaintiff’s March 26, 2015 letter requesting verification of the debt, “did not provide

  the address of the original creditor as [Plaintiff] requested but did provide . . . [Plaintiff’s] original

  retainer agreement with Aitken for [her] divorce” [Dkt. 40, Ex. B at 7]. The Bentson Affidavit

  also indicates “[Defendant] did send the Aitken divorce contract and some invoices, but he also

  enclosed the April 9, 2015 demand letter, rather than respond to the validation letter with whatever

  documentation he had” [Dkt. 40, Ex. B at 13]. These conclusory, self-serving statements will not

  suffice to carry Plaintiff’s burden on this claim. See, e.g., In re Deepwater Horizon, 857 F.3d 246,

  250 & n.7 (5th Cir. 2017) (rejecting party’s reliance on a conclusory affidavit at summary

  judgment stage). Further, Plaintiff’s own averments indicate the letters Defendant sent to Plaintiff

  provided Plaintiff sufficient information regarding “how and when the debt was originally

  incurred” and “sufficient notice from which [Plaintiff] could sufficiently dispute the payment

  obligation.” See Mack, 2015 WL 123742, at *4; Dkt. 40, Ex. B (stating Plaintiff reached out to



  7
    The Court need not determine whether the validation/dispute notice within Defendant’s January 29, 2015 letter meets
  Section 1692g(a)’s requirements, as the uncontested record evidence demonstrates Plaintiff first received Defendant’s
  March 13, 2015 letter, and no evidence establishes Defendant sent the January 29, 2015 letter as alleged. Cf. Johnson
  v. Attorney Office of Newman, Mathis, Brady & Spedale, No. CIV.A. 12-706-RLB, 2013 WL 6834381, at *6 (M.D.
  La. Dec. 23, 2013) (finding an allegation that a debtor did not receive a purported initial notice will not rebut a debt
  collector’s evidence that the debt collector sent the initial notice). Even were the Court to consider Defendant’s Notice
  of Pleading and Statement [Dkt. 19], the Court’s conclusion would remain the same, as Defendant fails to provide any
  verification in that document that he sent the January 29, 2015 letter as he alleges.
  8
    The Court notes it found in a prior Report and Recommendation [Dkt. 33], considering the letters from Defendant
  to Plaintiff and the letter from Plaintiff to Defendant (the evidence properly before the Court at the time), that Plaintiff
  had not sufficiently established her claims under Section 1692g(a) as a matter of law. The Court now has before it
  additional evidence, namely the Bentson Affidavit and Strong Affidavit, see supra Summary of Evidence, and in
  considering this evidence reaches a different conclusion. See also supra note 5.


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  Aiken to verify the debt).     Plaintiff does not show Defendant failed to provide sufficient

  verification before continuing to attempt to collect the alleged debt. The Court accordingly

  recommends Plaintiff’s Motion be granted as to Plaintiff’s Section 1692g(a) claims and denied as

  to Plaintiff’s Section 1692g(b) claim.

  II.    TDCA Claims

         Plaintiff claims (and seeks judgment as a matter of law) that Defendant violated TDCA

  sections 392.101, 392.301(a)(1), 392.301(a)(8), 392.303(a)(2), 392.304(a)(1)(A), 392.304(a)(4),

  392.304(a)(6), 392.304(a)(8), 392.304(a)(12)-(14), 392.304(a)(17), and 392.304(a)(19) [Dkt. 40

  at 4-6]. Plaintiff also asserts Defendant violated Texas Business and Commerce Code section

  17.62—the Texas Deceptive Trade Practices Act (“DTPA”)—vis-à-vis TDCA section 392.404(a)

  [Dkt. 32 at 7]. The TDCA defines a “consumer” as “an individual who has a consumer debt[,]” a

  “consumer debt” as “an obligation, or alleged obligation, primarily for personal, family, or

  household purposes, and arising from a transaction or alleged transaction[,]” and “debt collector”

  as “a person who directly or indirectly engages in debt collection[,]” which the TDCA defines as

  “an action, conduct, or practice in collecting, or in soliciting for collection, consumer debts that

  are due or alleged to be due to a creditor.” TEX. FIN. CODE § 392.001(1)-(2), (5)-(6); see also id.

  § 392.001(7) (defining “third-party debt collector” as a “debt collector, as defined by 15 U.S.C. §

  1692a(6),” with certain exceptions inapplicable here). Here, as under the FDCPA, neither Party

  disputes Defendant’s status as a debt collector and/or third-party debt collector, Plaintiff’s status

  as a “consumer,” or the status of the debt as debt the collection of which is subject to the TDCA

  [see, e.g., Dkt. 40, Ex. B at 3-6 (averring the debt in question relates to allegedly delinquent

  payments due a law firm for divorce services)].




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            A.       Section 392.101: Bond Requirement

            TDCA section 392.101 requires third-party debt collectors to obtain “a surety bond issued

  by a surety company authorized to do business in this state as prescribed by [the TDCPA].” TEX.

  FIN. CODE § 392.101(a). Additionally, “[a] copy of the bond must be filed with the [Texas]

  secretary of state.” Id. Failure to comply with these requirements constitutes a violation of the

  TDCA. See CA Partners v. Spears, 274 S.W.3d 51, 79 (Tex. App.—Houston [14th Dist.] 2008,

  no pet.) (upholding injunction prohibiting debt collection activities in Texas where trial court

  found defendant was a third-party debt collector and had failed to post a security bond in

  compliance with Section 392.101). Here Plaintiff has alleged and shown that Defendant failed to

  comply with the Section 392.101 bond requirement [see Dkt. 40, Ex. C at 7 (averring Plaintiff’s

  attorney “checked the records of the Secretary of State of Texas when this suit was filed and it

  showed no surety bond on file for any name or name combination [Defendant] uses on his letters”).

  Accordingly, the Court recommends Plaintiff’s Motion be granted as to her TDCA section 392.101

  claim.9

            B.       Section 392.301

            TDCA section 392.301(a)(1) proscribes use of “threats, coercion, or attempts to coerce that

  employ [either] of the following practices:” [a] using or threatening to use violence or other

  criminal means to cause harm to a person or property of a person; . . . or [b] threatening to take an

  action prohibited by law.” TEX. FIN. CODE § 392.301(a). Here Plaintiff alleges but fails to show

  Defendant used or threatened violence or other criminal means in the manner proscribed. As




  9
    The Court notes it found in a prior Report and Recommendation [Dkt. 33], considering the letters from Defendant
  to Plaintiff and the letter from Plaintiff to Defendant (the evidence properly before the Court at the time), that Plaintiff
  had not sufficiently established her claims under Section 392.101 as a matter of law. The Court now has before it
  additional evidence, namely the Bentson Affidavit and Strong Affidavit, see supra Summary of Evidence, and in
  considering this evidence reaches a different conclusion. See also supra notes 5, 8.


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  discussed supra at Section I.A, Plaintiff’s similar claims under the FDCPA fail on the present

  record to demonstrate summary judgment is appropriate; for the same reasons, Plaintiff’s claims

  under Section 392.301 fail at this stage. Cf. Cox v. Hilco Receivables, L.L.C., 726 F. Supp. 2d

  659, 667 (N.D. Tex. 2010) (noting comparable provisions of FDCPA and TDCPA and finding

  allegations of “the same conduct” would violate both without further analysis). Accordingly, the

  Court recommends Plaintiff’s Motion be denied as to her TDCA section 392.301 claim.

          C.      Section 392.303

          TDCA section 392.303 provides in relevant part that “a debt collector may not use unfair

  or unconscionable means that employ [inter alia] . . . [the] collect[ion] or attempt[] to collect

  interest or a charge, fee, or expense incidental to the obligation unless the interest or incidental

  charge, fee, or expense is expressly authorized by the agreement creating the obligation or legally

  chargeable to the consumer[.] . . .” Id. § 392.303(a)(2); see also McCaig v. Wells Fargo Bank

  (Tex.), N.A., 788 F.3d 463, 479 (5th Cir. 2015) (finding violation of TDCPA section 392.303(a)(2)

  where bank-defendant assessed fees in violation of the contract between the bank and the

  borrower-plaintiff).

          In the present case, Plaintiff alleges Defendant has attempted to collect fees in violation of

  Section 392.303, but does not indicate which part of the alleged debt Defendant seeks to collect

  from Plaintiff constitutes such impermissible fees [see Dkt. 1 at 12]. Plaintiff avers Defendant

  provided her a copy of the purported contract between Plaintiff and the creditor law firm and as

  well as “some invoices” [e.g., Dkt. 40, Ex. B at 12-13]. Plaintiff also references an email

  conversation she had in March 2015 with Aitken about whether Aitken continued to claim Plaintiff

  owed on any account with Aitken incident to his work on her divorce proceedings [Dkt. 40, Ex. B

  at 5]. Plaintiff fails to provide the Court with copies of the referenced invoices, contract, or emails,




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  though she baldly avers they support her claims—such conclusory averments do not suffice to

  show Defendant attempts here to collect an unauthorized fee or other cost, particularly where

  Plaintiff could have proffered documentary support for her claims. In re Deepwater Horizon, 857

  F.3d at 250 & n.7. The Court finds Plaintiff provides no evidence to support this claim and, in any

  case, fails to identify any interest, charge, or fee Defendant seeks to collect that violates the

  underlying contract between Plaintiff and Aitken. Accordingly, the Court recommends denying

  Plaintiff’s Motion as to her claims under TDCA section 392.303.

         D.      Section 392.304

         TDCA section 392.304 proscribes “fraudulent, deceptive, or misleading representation that

  employs the following practices:”

         (1) using a name other than the:
         (A) true business or professional name or the true personal or legal name of the debt
         collector while engaged in debt collection; . . .
         ...
         (4) failing to disclose clearly in any communication with the debtor the name of the
         person to whom the debt has been assigned or is owed when making a demand for
         money;
         ...
         (6) using a written communication that fails to indicate clearly the name of the debt
         collector and the debt collector's street address or post office box and telephone
         number if the written notice refers to a delinquent consumer debt;
         ...
         (8) misrepresenting the character, extent, or amount of a consumer debt, or
         misrepresenting the consumer debt's status in a judicial or governmental
         proceeding;
         ...
         (12) representing that a consumer debt may be increased by the addition of
         attorney's fees, investigation fees, service fees, or other charges if a written contract
         or statute does not authorize the additional fees or charges;
         (13) representing that a consumer debt will definitely be increased by the addition
         of attorney's fees, investigation fees, service fees, or other charges if the award of
         the fees or charges is subject to judicial discretion;
         (14) representing falsely the status or nature of the services rendered by the debt
         collector or the debt collector's business;
         ...
         (17) representing that a consumer debt is being collected by an attorney if it is not;



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          (19) using any other false representation or deceptive means to collect a debt or
          obtain information concerning a consumer.

  TEX. FIN. CODE § 392.304(a); see also Thompson v. Bank of Am. Nat’l Ass’n, 783 F.3d 1022, 1026

  (5th Cir. 2015) (identifying Section 392.304(a)(19) as a “catchall provision”). Importantly, a

  violation for misrepresentation under the TDCA requires an “affirmative statement that was false

  or misleading[,]” and which “relate[s] to the character of the debt[.] . . .” Thompson, 783 F.3d at

  1026 (internal quotations omitted). In this vein, a representation (a) that the consumer owes a

  lump sum of money that (b) fails to further delineate which parts of that sum constitute interest,

  fees, or otherwise, without more, merely creates a fact issue as to the debt collector’s liability. See

  Gonzalez v. Temple-Inland Mortg. Corp., 28 S.W.3d 622, 625-26 (Tex. App.—San Antonio 2000,

  no pet.).

          Here Plaintiff fails to demonstrate summary judgment is appropriate as to her Section

  392.304(a)(1)(A), (4), (6), (12), (13), (14), or (17) claims, as the record contains no evidence that

  Defendant violated any of provisions (4), (6), (12), (13), (14), or (17). Defendant notes in each

  letter his purpose of collecting the alleged debt on behalf of Aitken, Aitken & Sharpe, P.C., never

  mentions or implies any fees will accrue except as provided by the underlying contract, and never

  holds himself out as an attorney attempting to collect the debt [see Dkt. 40, Ex. A]. Furthermore,

  though Defendant refers to himself variously as “David E. Chyma, Consultant” and “D.E. Chyma,

  Consultant,” nothing in the record indicates this is not “the true business or professional name or

  the true personal or legal name of [Defendant].” See TEX. FIN. CODE § 392.304(a)(1)(A). And

  Defendant’s letters make clear his role—he demands payment for a debt Plaintiff allegedly owes

  to Aitken [see Dkt. 40, Ex. A].




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           By contrast, the record supports Plaintiff’s claims under Sections 392.304(a)(8) and (19).10

  As the Court found with regard to Plaintiff’s FDCPA Section 1692e claims supra in Section I.B,

  each of Defendant’s letters references two different amounts—$10,940.58 as “Balance on Invoice

  #3144 – 07/13” and $15,050.50 as “Balance on Statement”—but does not identify whether

  Defendant claims $10,940.58 or $15,050.50 (or both) as the amount due. As with Plaintiff’s

  FDCPA claim, this evidence suffices to show Defendant violated subsections (a)(8) and (19). See,

  e.g., Miller v. BAC Home Loan Servicing, L.P., 726 F.3d 717, 723 (5th Cir. 2013) (indicating that

  a Section 392.304(a)(8) occurs where the debt collector leads the debtor “to think differently with

  respect to the character, extent, amount, or status of the[] debt”); cf. Cox, 726 F. Supp. 2d at 667

  (applying the same analysis to plaintiff’s claims made under FDCPA Section 1692e and TDCA

  Section 392.304(a)(8) and (19)). Accordingly, the Court recommends Plaintiff’s Motion be

  granted as to her TDCA Section 392.304(a)(8) and (19) claims and denied as to her TDCA Section

  392.304(a)(1)(A), (4), (6), (12), (13), (14), and (17) claims.

  III.     Damages, Costs, and Fees

           Plaintiff claims damages under both the FDCPA (Section 1692k) and TDCA (Section

  392.403), as well as injunctive relief under the TDCA and “[r]emedies under [the DTPA] pursuant

  to [TDCA Section 392.404]” [Dkt. 1 at 11 (FDCPA), 14 (TDCA & DTPA)].

           Under Section 1692k, a court may award “any actual damage sustained by [a debtor]”

  resulting from a debt collector’s failure to comply “with any provision” of the FDCPA, “additional

  damages . . . not exceeding $1,000[,]” and “the costs of the action, together with any reasonable




  10
     The Court notes it found in a prior Report and Recommendation [Dkt. 33], considering the letters from Defendant
  to Plaintiff and the letter from Plaintiff to Defendant (the evidence properly before the Court at the time), that Plaintiff
  had not sufficiently established her claims under Section 392.304 as a matter of law. The Court now has before it
  additional evidence, namely the Bentson Affidavit and Strong Affidavit, see supra Summary of Evidence, and in
  considering this evidence reaches a different conclusion. See also supra notes 5, 8, & 9.


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  attorney’s fee as determined by the court.” 15 U.S.C. § 1692k(a)(1), (2)(A), (3); see also Brown

  v. Dallas Creditors Servs., Inc., No. 4:12CV371, 2013 WL 3377438, at *3 (E.D. Tex. July 3, 2013)

  (rendering award under Section 1692k and noting the statute caps additional damages at $1,000

  per action, “not per violation”). A court must consider “the frequency and persistence of

  noncompliance by the debt collector, the nature of such noncompliance, and the extent to which

  such noncompliance was intentional” in determining the amount of a non-complying debt

  collector’s liability. 15 U.S.C. § 1692k(b)(1). Even “[a] single violation is sufficient to establish

  [such] liability.” United States v. Commercial Recovery Sys., Inc., 179 F. Supp. 3d 728, 733-34

  (E.D. Tex. 2016).

         Similarly, under Section 392.304, a court may award “injunctive relief to prevent or

  restrain a violation of [the TDCA]; and . . . actual damages sustained as a result of a violation of

  [the TDCA].” TEX. FIN. CODE § 392.403(a). Further, “[a] person who successfully maintains an

  action under Subsection (a) is entitled to attorney’s fees reasonably related to the amount of work

  performed and costs.” Id. § 392.403(b). Where the debtor “successfully maintains an action under

  [TDCA Section 392.101,]” the debtor also may claim statutory damages of “not less than $100 for

  each violation of [the TDCA].” Id. § 392.403(e); see also Marauder Corp. v. Beall, 301 S.W.3d

  817, 822-23 (Tex. App.—Dallas 2009, no pet.) (finding a debtor must prevail on its claim for

  actual damages in order to receive additional statutory damages). Importantly, a debtor must

  prevail on its claim for injunction “[i]n order to be awarded attorney’s fees . . . .” Citibank (S.D.),

  N.A. v. Durden, No. 05-11-00154-CV, 2012 WL 6096569, at *2 (Tex. App.—Dallas Dec. 7, 2012,

  no pet.) (citing Marauder Corp., 301 S.W.3d at 823).

         Further, under the FDCPA and TDCA, actual damages include “not only out-of-pocket

  expenses, but also damages for personal humiliation, embarrassment, mental anguish, and




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  emotional distress.” Reyelts v. Cross, 968 F. Supp. 2d 835, 846 (N.D. Tex. 2013) (collecting

  cases). To collect such damages, a plaintiff must proffer direct evidence regarding the “nature,

  duration, and severity of the mental anguish” and show it has caused a substantial disruption in the

  plaintiff’s daily routine. Id. This requires “actual evidence of distress and injury, not merely

  conclusory statements about it.” Harrington v. Nat’l Enter. Sys., Inc., No. 4:08cv422, 2010 WL

  890176, at *4 (E.D. Tex. Mar. 9, 2010).

           Here, Plaintiff has carried her summary judgment burden as to her FDCPA Section 1692e

  and 1692g(a) claims, as well as her TDCA Section 392.101 and 392.304(a)(8), (19) claims and

  has shown herself entitled to claim actual damages, statutory damages, and attorneys fees under

  both the FDCPA and TDCA. The matter of damages, however, “is not appropriately decided in a

  motion for summary judgment and would need to be addressed at a hearing.” Infante v. Samara

  Portfolio Mgmt., L.L.C., No. 1:14-CV-00324, 2017 WL 1102757, at *7 (E.D. Tex. Jan. 20, 2017).11

                               CONCLUSION AND RECOMMENDATION

           In light of the foregoing, the Court recommends Plaintiff’s Motion for Summary Judgment

  [Dkt. 40] be GRANTED IN PART AND DENIED IN PART. The Court recommends Plaintiff

  be granted judgment as a matter of law as to her claims under FDCPA Sections 1962e and 1692g(a)

  and under TDCA Sections 392.101 and 392.304(a)(8), (19). Further, the Court recommends


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      As to Plaintiff’s claims for attorneys fees, the Court notes the claim is premature at this time, as the case is not
  complete. That said, the Fifth Circuit and U.S. Supreme Court have held a court must determine what constitutes a
  “reasonable” amount of attorneys fees using the two-step process outlined in Knoerr v. Pinnacle Asset Grp., L.L.C.,
  No. H–16–599, 2017 WL 2118975, at *1 (S.D. Tex. May 16, 2017) (citing, inter alia, Johnson v. Ga. Highway Express,
  Inc., 488 F.2d 714, 717–19 (5th Cir.1974)). In calculating the lodestar fee, courts will consider the attorney’s own
  averments regarding the attorney’s usual rates and the attorney’s experience and reputation. See, e.g., Prater v.
  Commerce Equities Mgmt. Co., No. CIV.A. H-07-2349, 2008 WL 5140045, at *4 (S.D. Tex. Dec. 8, 2008), Brown,
  2013 WL 3377438. However, “the applicant should include contemporaneously created time records that specify[] .
  . . the date, the hours expended, and the nature of the work done” so that the court may evaluate whether the hours
  expended are not “excessive, redundant, or otherwise unnecessary . . . .” Prater, 2008 WL 5140045 (citing, inter alia,
  Saizan v. Delta Concrete Prods. Co., Inc., 448 F.3d 795, 800 (5th Cir. 2006); Walker v. City of Mesquite, 313 F.3d
  246, 251 (5th Cir. 2002); Riley v. City of Jackson, 99 F.3d 757, 760 (5th Cir. 1996)); see also Knoerr, 2017 WL
  2118975, at *2 (considering the proffered attorney time-log). Without billing records, the Court cannot adequately
  evaluate Plaintiff’s request for attorneys fees.


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  denying Plaintiff’s claims under FDCPA Sections 1692d, 1692f, and 1692(g)(b), as well as

  Plaintiff’s claims under TDCA Sections 392.301, 392.303, and 392.304(a)(1)(A), (a)(4), (a)(6),

  (a)(12), (a)(13), (a)(14), and (a)(17).

          Within fourteen (14) days after service of the magistrate judge's report, any party must

  serve and file specific written objections to the findings and recommendations of the magistrate

  judge. 28 U.S.C. § 636(b)(1)(C). In order to be specific, an objection must identify the specific

  finding or recommendation to which objection is made, state the basis for the objection, and

  specify the place in the magistrate judge's report and recommendation where the disputed

  determination is found. An objection that merely incorporates by reference or refers to the briefing

  before the magistrate judge is not specific.

          Failure to file specific, written objections will bar the party from appealing the unobjected-

  to factual findings and legal conclusions of the magistrate judge that are accepted by the district

  court, except upon grounds of plain error, provided that the party has been served with notice that

  such consequences will result from a failure to object. See Douglass v. United Servs. Auto. Ass’n,

  79 F.3d 1415, 1417 (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C.

  § 636(b)(1) (extending the time to file objections from ten to fourteen days).

          SIGNED this 7th day of July, 2017.




                                       ___________________________________
                                       Christine A. Nowak
                                       UNITED STATES MAGISTRATE JUDGE




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